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     12
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     14
                                UNITED STATES DISTRICT COURT
     15
                              CENTRAL DISTRICT OF CALIFORNIA
     16
     17                                               Case No. 2:20-cv-10409   MCS JEM
           Seal4Safti, Inc., a Washington
     18    corporation,
     19                        Plaintiff,             MEMORANDUM OF
                                                      CONTENTIONS OF FACT AND
     20                 v.                            LAW
     21    California Expanded Metal Products
           Co. (CEMCO), a California                  Date: April 18, 2022
     22                                               Time: 2:00 p.m.
           corporation,                               Place: Courtroom 7C
     23
                               Defendant.             [Assigned to the Honorable Mark
     24                                               C. Scarsi]
     25   s
     26
     27
     28

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      1         Pursuant to Federal Rule of Civil Procedure 16 and Local Rule 16-4, Plaintiff
      2   Sea
      3   of Fact and law, addressing the issues to be decided at the trial of this matter,
      4   scheduled to begin on May 3, 2022.
      5   I. CLAIMS AND DEFENSES
      6         This is a patent validity and infringement action concerning five (5) patents
      7   currently owned by Defendant California Expanded Metal Products Company
      8                 Four of the patents-in-suit were originally issued to James Klein as the
      9   named inventor: U.S. Patent Nos.                                                     718
     10
     11                             P          The Klein Patents are all related: the
     12          p                                                   . CEMCO is also the owner
     13                                                         , which is the fifth patent-in-suit
     14   and which is not related to the Klein Patent family. 1
     15
     16                             ts. FRG is a composite firestopping device used primarily
     17   in commercial construction to reduce, slow, and/or prevent the spread of fire from
     18   one room to the next. The FRG products are designed to be affixed to a variety of
     19   building framing products, including bottom of wall tracks, head of wall tracks,
     20   joints, and wherever else an opening might allow the transference of smoke and fire.
     21   The composite FRG products include what is known in the industry as an
     22                        i.e. a strip of material that expands when exposed to heat. Once
     23   expanded, the integrity of the intumescent strip has a limited lifespan, as it eventually
     24   degrades in the presence of extreme heat and fire. The use of an intumescent strip,
     25   alone, affixed directly to the surface of a head of wall framing component, is what is
     26   taught by the Klein Patents.
     27
     28   1
                                                        Patents-in-Suit.
                                          1
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      1         However, in addition to the intumescent strip, the composite FRG products
      2   include a separate layer of foam material adhered to the intumescent strip using an
      3   adhesive, which removes the intumescent strip from the surface of the framing
      4   component and, thereby, slows the transference of heat into the intumescent strip.
      5   Consequently, the expansion of the intumescent material is delayed and, thus, the
      6   integrity of the FRG product remains intact for a longer duration, creating greater
      7   life-safety protections that allow for better containment of the spread of fire and
      8   otherwise increasing the amount of time for individuals to escape to safety.
      9         The operative pleadings set forth the following claims and counterclaims:
     10      A. Summary of Plaintiff S4S
     11             Claim 1: Declaration of Noninfringement (All Patents-in-Suit)
     12         Summary: S4S contends that its composite FRG products do not infringe any
     13   of the Patents-in-Suit. With respect to the Klein Patents, S4S contends that its FRG
     14   products do not infringe any of the claims of those Patents, as the FRG products are
     15   composite products that include elements not present in the Klein Patents, which
     16   elements render infringement of any claim of the Klein Patents impossible.
     17         With respect to the Klein Patents and the                                      its
     18   FRG products do not infringe any claim of those patents, as the written description
     19   for each of those patents
     20   portion and an intumescent strip portion, as is present in the FRG products. With
     21   regard to the Klein Patents, there is no description whatsoever that includes a foam
     22   material portion or layer. W
     23   foam material portion and the intumescent strip portion is taught only in either a side-
     24   by-side configuration or a perpendicular (L-shaped) configuration, neither of which
     25                                  oducts.
     26         Elements:
     27                Infringement (generally) - The determination of patent infringement
     28   involves a two-
                                          2
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      1   question of claim interpretation. Second, the trier of fact must determine whether the
      2                                                                                SmithKline
      3   Diagnostics, Inc. v. Helena Labs. Corp., 859 F.2d 878, 889 (Fed. Cir. 1988) (cited in
      4   Veritas Operating Corp. v. Microsoft Corp., 562 F. Supp. 2d 1141, 1154 (W.D.
      5   Wash. 2008)).
      6                Written Description (35 U.S.C. § 112) -            he written description
      7   requirement is not a question of whether one skilled in the art might be able to
      8   construct the patentee s device from the teachings of the disclosure. . . . Rather, it is
      9   a question whether the application necessarily discloses that particular device.
     10   PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1305 (Fed. Cir. 2008)
     11   (quoting Martin v. Mayer, 823 F.2d 500, 505 (Fed.Cir.1987)) (emphasis in original).
     12       he analysis compares the claims with the invention disclosed in the specification,
     13   and if the claimed invention does not appear in the specification, . . . the claim . . .
     14   fails regardless whether one of skill in the art could make or use the claimed
     15   invention. Ariad Pharms., Inc. v. Eli Lilly and Co., 598 F.3d 1336, 1348 (Fed. Cir.
     16   2010)     Claims define and circumscribe, the written description discloses and
     17   teaches. Id. at 1347
     18           Key Evidence: S4S will introduce the following categories of evidence
     19   establishing that its FRG products do not infringe the Patents-in-Suit:
     20                Patents-in-Suit
     21                Evidence regarding the accused products
     22                Evidence regarding the understandin
     23                according to persons of ordinary skill in the art of the relevant
     24                technology at the time of the issuance of the patents-in-suit
     25             Claim 2: Declaration of Unenforceability (All Patents-in-Suit)
     26           Summary: S4S contends that all of the Patents-in-Suit are unenforceable
     27   against it. With respect to the Klein Patents, S4S contends that CEMCO is judicially
     28   estopped from attempting to enforce the Klein Patents against S4S, as CEMCO took
                                                  3
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      1   the position in prior litigation against the        inventor, Mr. Klein, that the Klein
      2   Patents are invalid and ultimately obtained a beneficial resolution of that litigation,
      3   in part because of its arguments on invalidity.
      4
      5   that patent against S4S because CEMCO is guilty of inequitable conduct in taking
      6   conflicting positions regarding the patentability of the invention allegedly taught by
      7                                                            asserted by CEMCO in prior
      8   litigation.2
      9
     10
     11   by the written description requirement of 35 U.S.C. § 112 and is, therefore, not an
     12
     13            Elements:
     14                     Judicial Estoppel -
     15   precludes a party from gaining an advantage by asserting one position, and then later
     16                                                                         Hamilton v. State
     17   Farm Fire & Cas. Co., 270 F.3d 778, 782 (9th Cir. 2001) (citing Rissetto v. Plumbers
     18   & Steamfitters Local 343, 94 F.3d 597, 600 601 (9th Cir.1996); Russell v. Rolfs, 893
     19   F.2d 1033, 1037 (9th Cir.1990)
     20   consideration[s] of the orderly administration of justice and regard for the dignity of
     21   judicial procee
     22               Id.
     23   of inconsistent positions in the same litigation but is also appropriate to bar litigants
     24                                                                        Id. Moreover, the
     25
          2
              It is notable that                                                  :
     26
     27   the same invention and also be valid clearly, the Klein Patents would be prior art
          to whatever claims in                      CEMCO alleges disclose the same
     28   configuration of foam and intumescent.
                                                 4
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      1
      2                                                                     vorable settlement is
      3
      4                                                        Rissetto, 94 F.3d at 604-605.
      5                 Inequitable Conduct -
      6                                                                           Therasense, Inc.
      7   v. Becton, Dickinson & Co., 649 F.3d 1276, 1285 (Fed. Cir. 2011). To prevail on a
      8   claim of inequitable conduct, the moving party must prove by clear and convincing
      9
     10   and (2) made a material misrepresentation or omission. Id. at 1290.
     11   evidence of deceptive intent is rare, a district court may infer intent from indirect and
     12   circumstantial evidenc      Id. The but-for standard for materiality is satisfied if the
     13   preponderance of the evidence shows that
     14                       of the information. Id. Each individual associated with the filing
     15   and prosecution of a patent application has a duty of candor and good faith in dealing
     16   with the [PTO], which includes a duty to disclose to the [PTO] all information known
     17   to that individual to be material to patentability        37 CFR 1.56 (a). Information
     18
     19   with . . . a position the applicant takes in opposing an argument of unpatentability
     20   relied on b                 an argument of patentability                             . 37
     21   CFR 1.56 (b)(2).
     22         Key Evidence: S4S will introduce the following categories of evidence
     23   establishing the unenforceability of the Patents-in-Suit:
     24                 Evidence regarding the prior invalidity contentions asserted by CEMCO
     25                 with respect to the Klein Patents
     26                 Evidence regarding the success obtained by CEMCO in prior litigation
     27                 with respect to its contentions that the Klein Patents are invalid
     28                 (including settlement terms)
                                           5
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   2
   3                Evidence of conflicting representations made by CEMCO to the U.S.
   4                District Court for the Western District of Washington regarding existing
   5
   6             Claim 3: Declaration of Invalidity (All Patents-in-Suit)
   7         Summary: S4S contends that the Patents-in-Suit are all invalid. With respect
   8   to the Klein Patents, as was previously argued by CEMCO in prior litigation, S4S
   9   contends that those patents were obvious and anticipated by prior art in existence in
  10   the industry at the time of the issuance of those patents.
  11         Elements: A patent is presumed valid under 35 U.S.C. § 282, but that
  12   presumption can be overcome with clear and convincing evidence of obviousness
  13   under 35 U.S.C. § 103 or of anticipation under 35 U.S.C. § 102.
  14   Teleflex Inc., 550 U.S. 398, 426 (2007). Whether a patent should be invalidated for
  15   obviousness and/or anticipation is a question of law based on underlying facts. See
  16   Pandrol USA, LP v. Airboss Ry. Products, Inc., 424 F.3d 1161, 1164 (Fed. Cir. 2005);
  17   Liebel-Flarsheim Co. v. Medrad, Inc., 481 F.3d 1371, 1377 (Fed. Cir. 2007).
  18         Under 35 U.S.C. § 103
  19   between the subject matter sought to be patented and the prior art are such that the
  20   subject matter as a whole would have been obvious at the time the invention was
  21                                                                                    (a). An
  22   obviousness analysis includes four underlying inquiries (i.e. the Graham
  23   (1) the scope and content of the prior art; (2) the differences between the claims and
  24   the prior art; (3) the level of ordinary skill in the pertinent art; and (4) secondary
  25   considerations, if any, of non-obviousness. KSR, 550 U.S. at 406 07.
  26         Similarly, a patent claim is anticipated under the provisions of 35 U.S.C. § 102
  27   when a single prior art reference discloses every element in the claim, either explicitly
  28   or inherently. Net Money Inc. v. VeriSign Inc., 545 F.3d 1359, 1371 (Fed. Cir. 2008).
                                                 6
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   1         Key Evidence: S4S will introduce the following categories of evidence
   2   establishing the invalidity of the Patents-in-Suit:
   3                Prior Art to the Klein Patents
   4
   5
   6                invalidity in its 2012 litigation against James Klein
   7                Evidence establishing that the Patents-in-Suit were obvious or would
   8                have been anticipated by patented technology pre-dating the
   9                applications for the Patents-in-Suit
  10      B. Summary of Defendant CEMCO
  11
  12   Counterclaim (ECF No. 47), and are as follows:
  13
  14
  15
  16
  17
  18         Summary:                                                                         -
  19   referenced patents and that such infringement was willful and intentional. To date,
  20   CEMCO has maintained that the FRG products infringe upon each and every claim
  21   of every one of these patents.
  22         Elements:
  23                Infringement -
  24                                                                                  set forth
  25   above.
  26                Willfulness - To establish willful infringement, a plaintiff must prove
  27   by clear and convincing evidence that the defendant acted with no reasonable basis
  28   for believing it had the right to do so. State Indus., Inc. v. Mor-Flo Indus., Inc., 883
                                                  7
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   1   F.2d 1573, 1581 (Fed. Cir. 1989) (citing E.I. DuPont de Nemours & Co. v. Phillips
   2   Petroleum Co., 849 F.2d 1430, 1440, 7 USPQ2d 1129, 1137 (Fed.Cir.1988)).
   3                  Damages
   4   Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009) (citing
   5   Dow Chem. Co. v. Mee Indus., Inc., 341 F.3d 1370, 1381 (Fed. Cir. 2003)). Two
   6   alternative categories of infringement compensation are the patentee s lost profits
   7   and the reasonable royalty he would have received through arms-length bargaining.
   8   Id.
   9                                             Hebert v. Lisle Corp., 99 F.3d 1109, 1119
  10   (Fed. Cir. 1996). Regarding royalties, a patentee has two available approaches to
  11   calculate a reasonable royalty:
  12            The first, the analytical method, focuses on the infringer's
  13            projections of profit for the infringing product. See TWM Mfg.
  14            Co. v. Dura Corp., 789 F.2d 895, 899 (Fed.Cir.1986) (describing
  15
  16            acceptable net profit from its anticipated net profit realized from
  17                                          see also John Skenyon et al., Patent
  18            Damages Law & Practice § 3:4, at 3 9 to 3 10 (2008)
  19
  20            on the infringer's own internal profit projections for the
  21            infringing item at the time the infringement began, and then
  22            apportioning the projected profits between the patent owner and
  23            the
  24                                                                      -willing
  25
  26            the parties would have agreed had they successfully negotiated
  27            an agreement just before infringement began. See Georgia
  28
                                       8
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   1             Pacific Corp. v. U.S. Plywood Corp., 318 F.Supp. 1116, 1120
   2             (S.D.N.Y.1970).
   3   Lucent Techs., Inc., 580 F.3d at 1324.
   4          Key Evidence in Opposition: S4S intends to rely on the following evidence to
   5   oppose each Counterclaim:
   6                Infringement: S4S                                                     the
   7   evidence S4S intends to introduce in support of its claim for a declaratory judgment
   8   of noninfringement.
   9                Willfulness: S4S intends to present evidence of its reasonable belief that
  10   the Patents-in-Suit were all invalid, including but not limited to CEMCO
  11   successful position litigating the invalidity of the Klein Patents in prior litigation
  12   against James Klein.
  13                Damages: S4S maintains that CEMCO is unable to meet its burden of
  14   proof to prove the amount of damages that it allegedly suffered as a consequence of
  15
  16   produce any calculation of damages, in accordance with its obligation under Fed. R.
  17   Civ. Pro. 26(a).3 See Brandywine Communications Technologies, LLC v. Cisco
  18   Systems, Inc., 2012 WL 5504036, *1-*3 (N.D. Cal. 2012) (a patentee must present
  19   sufficiently detailed contentions regarding the damages it seeks in terms of lost
  20
       3
  21       S4S previously raised this argument on Summary Judgment, but the Court
  22                          (ECF No. 109, p. 24.)
  23   analysis was mistaken due to confusion caused by
       blend this litigation with its prior litigation against James Klein in the Western
  24   District of Washington. The damages calculation that the Court relied upon on
  25   summary judgment, the Expert Report of Minh P. Doan (ECF No. 108-3), was an
       expert report drafted by an expert disclosed by CEMCO in the Washington litigation
  26   not involving S4S, and in fact pre-                        (ECF No. 108-3 at p. 1.)
  27   Ms. Doan has never been disclosed as an expert in this litigation, nor has CEMCO
       provided any analysis of alleged damages (authored by Ms. Doan or otherwise) in
  28   this litigation.
                                                  9
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   1
   2   26(a) initial disclosures).
   3   types of damages that the party seeks, must contain a specific computation of each
   4                                                                            Silicon Knights,
   5   Inc. v. Epic Games, Inc., No. 5:07-CV-275-D, 2012 WL 1596722, at *1 (E.D.N.C.
   6   May 7, 2012). Pursuant to Fed. R. Civ. P. 37(c)
   7   information or identify a witness as required by Rule 26(a) or (e), the party is not
   8   allowed to use that information or witness to supply evidence . . . at a trial, unless the
   9                                                         CEMCO cannot claim lost profits
  10   in this action, because it has an exclusive license agreement with Clarkwestern
  11
  12   products pursuant to the Klein Patents. (ECF No.108-3 at p. 84.) That license
  13   agreement
  14   establishes a 6.5% royalty, net of freight costs. (See ECF No. 108-3 at p. 89.)
  15   CEMCO has not produced any evidence or expert testimony to prove that any equal
  16   or different royalty rate would be appropriate here, nor what the calculation of
  17   damages would be under such an undisclosed royalty rate.
  18             Ninth Defense       Assignor Estoppel
  19         Summary: As on summary judgment, CEMCO asserts that S4S ought to be
  20   estopped from arguing that the Klein Patents are invalid, according to the doctrine of
  21   assignor estoppel.
  22         Elements:
  23             Assignor estoppel should apply only when its underlying
  24             principle of fair dealing comes into play. That principle . . .
  25
  26             What creates the unfairness is contradiction. When an assignor
  27             warrants that a patent is valid, his later denial of validity breaches
  28
                                       10
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   1              norms of equitable dealing. And the original warranty need not
   2              be express . . . .
   3   Minerva Surgical, Inc. v. Hologic, Inc., 141 S. Ct. 2298, 2309-10 (2021).
   4           Key Evidence in Opposition:
   5                 Evidence demonstrating that S4S is not James Klein, the assignor of the
   6                 Klein Patents
   7                 Evidence demonstrating that James Klein made no warranties, explicitly
   8                 or implicitly, that the Klein Patents were valid
   9                 Evidence demonstrating that when CEMCO took assignment of the
  10                 Klein Patents, it knew (based upon its own successful arguments in
  11                 litigation) that the Klein Patents were invalid (e.g. email from
  12
  13                 in that litigation recognized the invalidity of those patents)
  14                 Evidence regard                              -
  15                 invalidity of the Klein Patents
  16      C.
  17
  18   and intends to pursue the following Affirmative Defenses (ECF No. 51):
  19           First Affirmative Defense - Judicial Estoppel: As noted above, S4S contends
  20   that CEMCO is estopped from asserting that the Klein Patents are valid, which is a
  21   necessary prerequisite                                                         See Commil
  22   USA, LLC v. Cisco Sys., Inc., 575 U.S. 632, 648, 135 S. Ct. 1920, 1931, 191 L. Ed.
  23   2d 883 (2015)      only valid patents can be infringed
  24           Second Affirmative Defense - Failure to Join Indispensable Party/No Real
  25   Party in Interest: As noted above, S4S contends that CEMCO cannot maintain its
  26   claim for lost profit damages against S4S, as CEMCO is not the real party in interest
  27   for any such claim. See Hebert, 99 F.3d at 1119
  28   to make and sell the invention, lost profits are not an appropriate measure of
                                             11
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   1              ; see also, CopyTele, Inc. v. E Ink Holdings, Inc., 962 F. Supp. 2d 1130,
   2   1137-1144 (N.D. Cal. 2013) (granting motion to dismiss patent infringement action
   3   filed by patent owner for lack of standing because patent owner had granted all
   4   substantial rights in the patent to its exclusive licensee, thus depriving the patent
   5   owner of standing).
   6         Third Affirmative Defense - Lack of Standing: As above, S4S contends that
   7   CEMCO does not have standing to sue for lost profits, as it has granted an exclusive
   8   license to make and sell the products pursuant to the Klein Patents to ClarkDietrich.
   9   See Hebert v. Lisle Corp., 99 F.3d 1109, 1119 (Fed. Cir. 1996)
  10   does not seek to make and sell the invention, lost profits are not an appropriate
  11                          ; see also, CopyTele, Inc., 962 F. Supp. 2d 1130 (granting
  12   motion to dismiss patent infringement action filed by patent owner for lack of
  13   standing because patent owner had granted all substantial rights in the patent to its
  14   exclusive licensee, thus depriving the patent owner of standing).
  15         Fourth Affirmative Defense - Unclean Hands: S4S contends that CEMCO is
  16   barred from pursuing its claims for patent infringement based upon the doctrine of
  17   unclean hands. See Therasense, Inc., 649 F.3d at 1287     As the inequitable conduct
  18   doctrine evolved from these unclean hands cases, it came to embrace a broader scope
  19   of misconduct, including not only egregious affirmative acts of misconduct intended
  20   to deceive both the PTO and the courts but also the mere nondisclosure of information
  21   to the PTO. Inequitable conduct also diverged from the doctrine of unclean hands by
  22   adopting a different and more potent remedy     unenforceability of the entire patent
  23   rather than mere dismissal of the instant suit.
  24   unenforceability argumen
  25
  26   infringement claims. In addition to the facts applicable to CEMCO        inequitable
  27                                                        nt, CEMCO has engaged in a
  28   pattern of misconduct intended to deceive the Court by asserting infringement of the
                                               12
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   1   Klein Patents, despite knowing and having previously argued that the Klein Patents
   2   are invalid and unenforceable.
   3         Fifth Affirmative Defense - Barred by Contract: As noted above, S4S contends
   4                                                                by the contract between
   5   CEMCO and ClarkDietrich. CEMCO is not the real party in interest for any claim
   6   for lost profits. See Hebert v. Lisle Corp., 99 F.3d 1109, 1119 (Fed. Cir. 1996)
   7
   8                                          .
   9         Sixth Affirmative Defense - Invalidity/Unenforceability: These affirmative
  10   defens
  11         Tenth Affirmative Defense - Damages Uncertain: As above, S4S contends that
  12   CEMCO has failed to meet its burden of production on its damages claim pursuant
  13   to Fed. R. Civ. P. 26(a), and has further failed to properly disclose any expert report
  14   and/or calculation regarding its alleged damages pursuant to Fed. R. Civ. P. 26(a)(2).
  15         Eleventh Affirmative Defense - Patent Misuse: The key inquiry of patent
  16   misuse is whether, by asserting a patent, the patentee has: (1) impermissibly
  17   broadened the physical or temporal scope of the patent grant, and (2) by so doing has
  18   caused an anticompetitive effect. U.S. Philips Corp. v. Int l Trade Comm n, 424
  19   F.3d 1179, 1184 (Fed.Cir.2005). S4S contends that CEMCO has attempted to
  20   impermissibly broaden the physical scope of each of the Patents-in-Suit, as none of
  21
  22   the accused products.
  23         Twelfth Affirmative Defense - 35 U.S.C. §§ 101, 102, 103, and 112: As set
  24   forth hereinabove, S4S contends that each of the Patents-in-Suit fail to meet the
  25   written description requirement of 35 U.S.C. § 112 insofar as they are alleged herein
  26                                                         portion and an intumescent strip
  27   portion.
  28
                                       13
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   1         Fourteenth Affirmative Defense - 35 U.S.C. § 288: Whenever a claim of a
   2   patent is invalid, an action may be maintained for the infringement of a claim of the
   3   patent which may be valid. The patentee shall recover no costs unless a disclaimer of
   4   the invalid claim has been entered at the Patent and Trademark Office before the
   5   commencement of the suit.
   6   costs in this action, as it has successfully argued in prior litigation that the Klein
   7   Patents are invalid but has failed to enter a disclaimer of such invalidity with the
   8   Patent and Trademark Office.
   9         Fifteenth Affirmative Defense         Inequitable Conduct: This Affirmative
  10   Defense mirrors the basis for
  11      D. Identification of Anticipated Evidentiary Issues
  12
  13   Motions in Limine, filed herewith and incorporated herein by this reference.
  14   Primarily, the parties appear to be poised to try two very different cases based on
  15   substantially different evidence. S4S intends to try the validity and infringement
  16   issues by comparing the Patents-in-Suit and the accused products, and by addressing
  17   the invalidity contentions based upon the prior art references that were first raised by
  18   CEMCO in earlier litigation. CEMCO, on the other had, appears intent to avoid the
  19   language of the Patents-in-Suit, instead attempting to argue its infringement case by
  20                                                            -Strip products previously
  21   manufactured by James Klein and his now-defunct companies, and further attempting
  22   to import prior judicial rulings from past litigation between it and Mr. Klein (which
  23   this Court has previously declined to do on numerous occasions). Thus, S4S
  24   anticipates that it will be objecting on a regular basis to any effort by CEMCO to
  25   influence the jury with past rulings from unrelated litigation.
  26      E. Identification of Issues of Law
  27         The issues of law that will be at issue in the trial of this matter are those that
  28   have been identified in this Memorandum, as
                                            14
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   1   Motions in Limine. The Court will ultimately need to determine whether either party
   2   is estopped from making certain arguments, under either a theory of judicial estoppel
   3   or assignor estoppel.
   4         As the Court has already rec
   5   Motions for Summary Judgment (ECF No. 109), the doctrine of assignor estoppel
   6   was recently revisited by the United States Supreme Court in Minerva Surgical, Inc.,
   7   141 S.Ct. 2298. The Supreme                     Minerva as an opportunity to caution
   8                                                             (ECF No. 109, p. 8 (citing
   9   Minerva, 141 S.Ct. at 2304, 2307))
  10   an inventor says one thing (explicitly or implicitly) in assigning a patent and the
  11                                                                   Id. Here, as the Court
  12                                                                                  uding the
  13   presiding [Judge Pregerson] had come to conclude the patents were invalid, Klein
  14                                                      (ECF No. 109, p. 12.) CEMCO will
  15   be unable to present any information at trial, as none exists, that alters or contradicts
  16   the information placed before the Court on summary judgment (if such evidence did
  17   exist, surely CEMCO would have put it before the Court either in support of its
  18   assignor estoppel argument on summary judgment                                         ).
  19         Additionally, S4S anticipates that CEMCO may attempt to confuse the issues
  20   in this litigation with argument and/or evidence regarding whether S4S has been
  21   found, in the limited scope of contempt proceedings in the Washington litigation, to
  22                                                                                 -Seal, Inc.
  23   As the Court is well-aware, CEMCO has not asked this Court to determine that S4S
  24   is legally identified with any other person or entity for purposes of this proceeding,
  25   nor otherwise in privity with any other person or entity in any material way that
  26   should affect the merits of this case.
  27
  28
                                       15
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   1   II.    BIFURCATION OF ISSUES
   2          Neither party has heretofore requested to bifurcate the issues in this trial.
   3   However, S4S does anticipate that the breadth and complexity of the issues at trial
   4   are not capable of resolution in a 3-5 day trial, as is currently scheduled pursuant to
   5                                                     . (ECF No. 37.)
   6   III.   JURY TRIAL
   7          This case involves interwoven issues of fact and law. Issues triable by the jury
   8   will be those involving the invalidity of the Patents-in-Suit and the alleged
   9   infringement of the Patents-in-Suit (including damages, depending on the outcome
  10
  11                                                                 , and whether the written
  12   descriptions of the Patents-in-Suit read on the accused products according to the
  13   written description requirement of 35 U.S.C. § 112. Purdue Pharma L.P. v. Faulding
  14   Inc., 230 F.3d 1320, 1329 (Fed. Cir. 2000)           whether the written description
  15   requirement was satisfied is a question of fact
  16
  17   contentions regarding judicial and assignor estoppel, and the question of whether
  18
  19                                                                    Ulead Sys., Inc. v. Lex
  20   Computer & Mgmt. Corp., 351 F.3d 1139, 1146 (Fed. Cir. 2003)                 inequitable
  21   conduct is a matter for the court, rather than the jury to resolve
  22   IV.
  23          S4S seeks an award of attorney fees in this action, pursuant to 35 U.S.C. § 285,
  24   on the basis that CEMCO has litigated this matter unreasonably in view of its prior,
  25   successful position that the Klein Patents are invalid, and further in view of its
  26   position that the Patents-in-Suit read on the accused products despite the fact that the
  27   written description of the Patents-in-Suit does not, in any instance, teach the inclusion
  28
                                       16
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   1                    89 Patent). See Octane Fitness, LLC v. ICON Health & Fitness, Inc.,
   2   572 U.S. 545, 554, 134 S. Ct. 1749, 1756, 188 L. Ed. 2d 816 (2014) (holding that the
   3                                                                          unreasonable
   4   manner in which the case was litigated
   5   V.     ABANDONMENT OF ISSUES
   6          S4S understands that CEMCO has abandoned Count III of its First Amended
   7   Counterclaim (ECF No. 47), which alleged infringement of U.S. Patent No.
   8   8,056,293. S4S is otherwise presently unaware of what other claims or issues
   9   CEMCO intends to abandon at trial.
  10          S4S does not intend to pursue the following Affirmative Defenses (ECF No.
  11   51):
  12          Seventh Affirmative Defense (offset)
  13          Ninth Affirmative Defense (failure to mitigate)
  14          Eleventh Affirmative Defense (with respect to laches, waiver, implied waiver,
  15          full compensation, first sale, patent exhaustion). As noted above, S4S intends
  16          to continue pursuing its Eleventh Affirmative Defense with respect to patent
  17          misuse.
  18          Thirteenth Affirmative Defense (adequate remedy at law)
  19
        Dated: March 28, 2022                     Respectfully submitted,
  20
  21
                                                        /s/ Thomas J. Lloyd III
  22
                                                  Thomas J. Lloyd III
  23                                              Molly A. Hage
                                                  ELAM & BURKE, P.A.
  24
  25                                              Bassil A. Hamideh
                                                  THE HAMIDEH FIRM, P.C.
  26
  27                                              Attorneys for Plaintiff,
                                                  Seal4Safti, Inc.
  28
                                       17
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